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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

     ULTRAVISION TECHNOLOGIES, LLC, §
                                                  §
                  Plaintiff,                      §
     V.                                           § CIV. ACTION NO. 2:18-CV-00112-JRG-RSP

     SHENZHEN AB SEN OPTOELECTRONIC §
     CO., LTD., ABSEN, INC.,                      §
                  Defe dants.                  §
                                    VERDICT FORM
           In answering the following questions and completing this Verdict Form, you

     are to follow all the instructions I have given you in the Court s Final Jury

    Instructions. Your answers to each question must be unanimous. Some of the


     questions contain legal terms that are defined and explained in detail in the Final

    Jury Instructions. You should refer to and consider the Final Jury Instructions as you

     answer the questions in this Verdict Form.
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          As used herein, the following terms have the following meanings:

           Ultravision or Plainti   means Ultravision Technologies, LLC.

          “Defendants or “Absen” means Shenzhen Absen Optoelectronic Co., Ltd.


          and Absen, Inc.


          The “ 782 Patent refers to U.S. Patent No. 9,916,782.

          The “ 294 Patent refers to U.S. Patent No. 9,978,294.

          The “’904 Patent refers to U.S. Patent No. 9,207,904.


          The “Asserted Claims collectively refers to Claim 9 of the ’782 Patent,

          Claim 22 of the ’294 Patent, and Claim 1 of the ’904 Patent.




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          IT IS VERY IMPORTANT THAT YOU FOLLOW THE
         INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




         READ THEM CAREFULLY AND ENSURE THAT YOUR
                VERDICT COMPLIES WITH THEM




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     QUESTION NO. 1:



     Did Ultravision prove by a preponderance of the evidence that Absen infringed ANY

     of the Asserted Claims?




     YES


     NO




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     QUESTION NO. 2:



     Did Absen prove by clear and convincing evidence that any of the following

     Asserted Claims are invalid?

     Check Yes or “No for each Asserted Claim listed below:




                 Claim 9 of the 782 Patent        Yes:        No:




                 Claim 22 of the 294 Patent       Yes:        No:




                 Claim 1 of the ’904 Patent       Yes:        No:




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     If you answered NO to Question No. 1 OR YES o ALL Asserted Claims in
     Question No. 2, then DO NOT ans er Question No. 3.

     Answer Question No. 3 ONLY as to an Asserted Claim that you have found
     BOTH to be infringed and not invalid.




     QUESTION NO. 3:


     Did Ultravision prove by a preponderance of the evidence that Absen willfully

     infringed ANY of the Asserted Claims that you found were infringed?


     YES


     NO




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     If you answered NO to Question No. 1 OR YES to ALL Asserted Claims in
     Question No. 2, then DO NOT ans er Question No. 4,

     Answer Question No. 4 ONLY as to any Asserted Claim that you have found
     BOTH to be infringed and not invalid.




     QUESTION NO. 4:


     What sum of money, if paid now in cash, has Ultravision proven by a preponderance
     of the evidence would compensate Ultravision for its damages from infringement
     through December 31, 2020?




     Answer in United States Dollars and Cents, if any:



           $




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                       FINAL PAGE OF JURY VERDICT FORM

     You have now reached the end of the Verdict Form and should review it to ensure it

     accurately reflects your unanimous determinations. The Jury Foreperson should then

     sign and date the Verdict Form in the spaces below. Once this is done, notify the

     Court Security Officer that you have reached a verdict. The Jury Foreperson should

     keep the Verdict Form and bring it when the jury is brought back into the courtroom .



    . Signed this� day of June, 2021.



                                                   ___________________________
                                                   JURY FOREPERSON




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